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                           UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION


IN RE:

 CARLOS GARCIA,                                           CASE NO.: 22-17692-RAM
                                                          CHAPTER 13
              Debtor(s).

 ______________________________________/

                CREDITOR’S MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                     TO ENFORCE FINAL JUDGMENT OF FORECLOSURE
                      Subject Property: 1575W 6TH AVE, HIALEAH, FL 33010

         Creditor, U.S. Bank National Association, not in its individual capacity but solely as trustee for

the RMAC Trust, Series 2016-CTT (the “Creditor”), by and through undersigned counsel and

pursuant to 11 U.S.C. §362(d), Federal Rule of Bankruptcy Procedure 4001 and Local Rule 4001-

1, moves this Court for relief from the automatic stay to proceed in rem, and states:

         1.        Summary of Motion: The Creditor seeks relief from the automatic stay as the

Debtor, CARLOS GARCIA (the “Debtor”), is in default under the Note and Mortgage and is not

adequately protecting the Creditor.

         2.        Creditor’s Interest: The Debtor filed this voluntary Chapter 13 proceeding on

October 2, 2022. The Creditor holds a security interest in the subject property located at 1575W

6TH AVE, HIALEAH, FL 33010 (the “Property”), more fully described as:

         I.OT 53 OF LUNSFORD GARDENS, ACCORDING TO THE PLAT
         THEREOF AS RECORDED IN PLAT BOOK 30, PAGE 4, OF THE PUBLIC
         OF MIAMI DADE COUNTY FLORIDA.




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       3.      Debtor's Intentions: Based on the Debtor’s proposed First Amended Chapter 13

Plan [DE 33] filed January 11, 2023 (the “Plan”), provides for MMM Adequate Protection payments

to Creditor in the amount of $531.96 pending resolution and completion of mediation. The First

Amended Plan was confirmed providing the adequate protection payments on February 24, 2023

[D.E. 43].

       4.      Standing: The Creditor possesses standing to bring this Motion and the right to

foreclose by virtue of the Final Judgment of Foreclosure entered on November 8, 2021, in the

amount of $787,924.17 (the “Judgment”). See Exhibit "A".

       5.      Property Valuation: Pursuant to the County Property Appraiser's Office in which

the Property lies situate, the Property is valued at $301,080.00. See Exhibit "B". Pursuant to Rule

803(8) Federal Rules of Evidence, the property appraiser valuation is permissible.

       6.      Grounds for Relief: The Creditor maintains that cause exists pursuant to 11 U.S.C.

§362(d)(1) for the automatic stay to be lifted. The Creditor’s security interest in the Property is

being significantly jeopardized by the Debtor’s failure to satisfy the Judgment while the Creditor

is prohibited from pursuing lawful remedies to protect such interest.

               The Debtor’s First Amended Plan was confirmed providing MMM adequate

protection payments pending completion of the Mediation. A Final Mediation Report was issued

on June 14, 2023 [D.E. 47] in which the report indicated there was no agreement. It has been over

forty-five (45) days since the issuance of the final mediation report and yet no Modified Plan has

been filed either curing the default pursuant to the Proof of Claim No. 1 nor has the Debtor

modified to surrender or pay direct the subject property.

       7.      Servicer: Rushmore Loan Management Services LLC is servicing the loan on

behalf of the Creditor. Any payments made to the Creditor must be sent to Rushmore Loan



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Management Services LLC, P.O. Box 52708, Irvine, CA 92619-2708.

       8.      Fees Incurred: Creditor incurred necessary fees to prosecute this motion. Creditor

requests that bankruptcy fees of $850.00 and costs of $176.00 be awarded in rem for the Motion.

       9.      Waiver of Rule 4001(a)(3): Creditor requests that the Court waive the 14 day stay

of the Order Granting Relief pursuant to Bankruptcy Rule 4001 (a)(3), so that Creditor can pursue

its in rem remedies without further delay.

               WHEREFORE, the Creditor respectfully requests that this Court issue an Order

terminating or modifying the stay, awarding it fees and costs in the amount of $1,026.00, waiving

the 14 day stay of such order, and for any such further relief this Court deems proper and just.

                                              Diaz Anselmo & Associates, P.A.
                                              Attorneys for Creditor (SHD No. 1461-188464)
                                              P.O. BOX 19519
                                              Fort Lauderdale, FL 33318
                                              Phone: (954) 564-0071
                                              Fax: (954) 564-9252
                                              By: /s/ Ida A. Moghimi-Kian
                                                 Ida A. Moghimi-Kian
                                                 Florida Bar No.56395
                                                 IMoghimi-Kian@dallegal.com




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                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this day, August 28, 2023, a copy of the foregoing
was furnished electronically and/or via first class U.S. Mail upon:

CARLOS GARCIA
1575 WEST 6 AVENUE
HIALEAH, FL 33010
Debtor(s)

RICARDO A. RODRIGUEZ
14261 COMMERCE WAY, STE. 105
MIAMI LAKES, FL 33016
Attorney for Debtor(s)

NANCY K. NEIDICH
PO BOX 279806
MIRAMAR, FL 33027
Trustee

UNITED STATES TRUSTEE
OFFICE OF THE U.S. TRUSTEE
51 S.W. 1ST AVE. SUITE 1204
MIAMI, FL 33130
U.S. Trustee


                                      Diaz Anselmo & Associates, P.A.
                                      Attorneys for Creditor (SHD No. 1461-188464)
                                      P.O. BOX 19519
                                      Fort Lauderdale, FL 33318
                                      Phone: (954) 564-0071
                                      Fax: (954) 564-9252
                                      By: /s/ Ida A. Moghimi-Kian
                                         Ida A. Moghimi-Kian
                                         Florida Bar No.56395
                                         IMoghimi-Kian@dallegal.com




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MOTION FOR RELIEF
   EXHIBIT “A”
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Filing # 138136417 E-Filed 11/08/2021 05:56:09 PM



         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
         CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

         CASE NO: 2016-033272-CA-01
         SECTION: CA21
         JUDGE: David C. Miller

         US BANK NATIONAL ASSOCIATION
         Plaintiff(s)

         vs.

         Carlos Garcia et al
         Defendant(s)
         ____________________________/

                                  FINAL JUDGMENT OF FORECLOSURE

         THIS ACTION was heard before the court for a Non-Jury Trial on November 5, 2021. On the
         evidence presented, IT IS ORDERED AND ADJUDGED that Final Judgment is hereby
         GRANTED against all Defendants listed by name: UNKNOWN SPOUSE OF CARLOS
         GARCIA NKA MAITE MORALES; UNKNOWN PARTY IN POSSESSION 1 NKA LOUISA
         MENENDEZ; and CARLOS GARCIA.



         1.      Amounts Due and Owing. Plaintiff is due:



          Principal due on the note secured by the mortgage      $313,860.13
          foreclosed:
          Interest on the note and mortgage from 12/1/2011 to    $363,779.97
          11/5/2021

          Title search expenses                                  $350.00
          Taxes                                                  $39,825.84
          Insurance premiums                                     $43,515.52

          Attorneys’ Fees:
             Finding as to reasonable number of hours:           25.40
             Finding as to reasonable hourly rate:               $215.00-$275.00



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       Attorneys' Fees Total                                        $7,825.00

       Court Costs, Now Taxed:

       Service of Process                                           $65.00



                SUBTOTAL                                            $769,221.46

       Additional Costs:

       Prior Counsel's Fees & Costs
                                                                    $18,702.71



                SUBTOTAL                                            $787,924.17




       TOTAL                                                        $787,924.17




      2.      Interest. The grand total amount referenced in paragraph 1 shall bear interest from this
      date forward at the prevailing legal rate of interest.



      3.      Lien on Property. Plaintiff, whose address is c/o Diaz Anselmo & Associates, P.A.,
      PO BOX 19519, Fort Lauderdale, FL 33318, holds a lien for the grand total sum superior to all
      claims or estates of defendant(s), on the following described property in Miami-Dade County,
      Florida:



       LOT 53 OF LUNSFORD GARDENS, ACCORDING TO THE PLAT
       THEREOF AS RECOREDED IN PLAT BOOK 30, PAGE 4, OF THE
       PUBLIC RECORDS OF MIAMI-DADE COUNTY, FLORIDA.




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                      Property Address: 1575 W 6TH AVE, HIALEAH, FL 33010



      4.      Sale of Property. If the grand total amount with interest at the rate described in
      paragraph 2 and all costs accrued subsequent to this judgment are not paid, the Clerk of this
      Court shall sell the subject property at public. Pursuant to Administrative Order 09-18, the Clerk
      of the Courts for the Eleventh Judicial Circuit is authorized to conduct on-line public auctions of
      real property in lieu of on-site auctions. The Clerk of the Courts shall conduct the sale online at
      www.miamidade.realforeclose.com commencing at 9:00 a.m. on January 18, 2022, to the
      highest bidder for cash.



      5.      Costs. Plaintiff shall advance all subsequent costs of this action and shall be reimbursed
      for them by the Clerk if plaintiff is not the purchaser of the property for sale, provided, however,
      that the purchaser of the property for sale shall be responsible for the documentary stamps
      affixed to the certificate of title. If plaintiff is the purchaser, the clerk shall credit plaintiff's bid
      with the total sum with interest and costs accruing subsequent to this judgment, or such part of it,
      as is necessary to pay the bid in full.



      6.      Distribution of Proceeds. On filing the Certificate of Title, the Clerk shall distribute
      the proceeds of the sale, so far as they are sufficient, by paying: first, all of plaintiff's costs;
      second, documentary stamps affixed to the Certificate; third, plaintiff's attorneys' fees; fourth, the
      total sum due to plaintiff, less the items paid, plus interest at the rate prescribed in paragraph 2
      from this date to the date of the sale; and by retaining any remaining amount pending further
      order of this court.



      7.      Right of Redemption/ Right of Possession. Upon filing of the Certificate of Sale,
      defendant(s) and all persons claiming under or against defendant(s) since the filing of the Notice
      of Lis Pendens shall be foreclosed of all estate or claim in the property, except as to claims or
      rights under Section 45.01315, Florida Statutes (2013) shall be terminated, except as to claims or
      rights under Chapter 718 or Chapter 720, Fla. Stat, if any. Upon filing of the Certificate of Title,
      the person named on the Certificate of Title shall be let into possession of the property, subject to
      tenant protections in compliance with provisions of Section 83.561, Fla. Stat. (2015).



      8.     Attorneys' Fees. The requested attorney's fee are a flat rate fee that the firm's client
      has agreed to pay in this matter. Given the amount of fee requested and the labor expended, the


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      Court finds that a lodestar analysis is not necessary and that the flat fee is reasonable.



      9.     Jurisdiction. The Court retains jurisdiction of this action to enter deficiency
      judgments.



      10.     The Court finds that the plaintiff has proved the terms of the lost note and its right to
      enforce the instrument as required by Florida Statute Section 673.3091. The plaintiff shall
      henceforth hold the defendant maker(s) of the note harmless and shall indemnify them from any
      loss they may incur by reason of a claim by any other person to enforce the lost note. Since
      adequate protection is therefore provided as required by Florida Statute Section 673.3091,
      judgment is hereby entered in favor of the plaintiff as to its request to enforce the lost note.



      IF THIS PROPERTY IS SOLD AT PUBLIC AUCTION, THERE MAY BE ADDITIONAL
      MONEY FROM THE SALE AFTER PAYMENT OF PERSONS WHO ARE ENTITLED
      TO BE PAID FROM THE SALE PROCEEDS PURSUANT TO THIS FINAL
      JUDGMENT.



      IF YOU ARE A SUBORDINATE LIEN HOLDER CLAIMING A RIGHT TO FUNDS
      REMAINING AFTER THE SALE, IF ANY, YOU MUST FILE A CLAIM WITH THE
      CLERK NO LATER THAN THE DATE THAT THE CLERK REPORTS THE FUNDS AS
      UNCLAIMED. IF YOU FAIL TO FILE A CLAIM, YOU WILL NOT BE ENTITLED TO
      ANY REMAINING FUNDS.



      11.   If prior to the sale contemplated in paragraph 4 hereof, the Plaintiff has to
      advance money to protect its mortgage lien, including but not limited to post
      judgment advances for property taxes and insurance, property preservation
      costs, post judgment attorney's fees and costs and post judgment bankruptcy
      fees and costs, the Plaintiff or its Attorneys shall certify by affidavit to the Clerk
      and the amount due to Plaintiff as shown in paragraph 1 above shall be increased
      by the amount of such advances for purposes of calculating Plaintiff's credit bid
      and redemption amount, without further order of the Court.



      12.    The Plaintiff, may assign the Judgment or the bid to a third party without
      further order of the Court. If the Plaintiff or Plaintiff's assignee is the purchaser at


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      the sale, the Clerk shall credit on the bid of the Plaintiff or Plaintiff's assignee the
      total sum herein found to be due the Plaintiff pursuant to the paragraphs above,
      or such portion thereof as may be necessary to pay fully the bid of the Plaintiff or
      Plaintiff's assignee.



      13.      If the United States of America is a Defendant in this action, they shall
      have the right of redemption provided by 28 U.S.C. §2410(c) from the issuance of
      a Certificate of Title, but the right shall thereafter expire.



      14.     Additional Attorneys' Fees. The court finds, based upon the
      affidavits/testimony presented and upon reasonable inquiry of counsel for the
      plaintiff that 25.40 hours were reasonably expended by that plaintiff’s counsel
      and that an hourly rate of $215.00-275.00.00 is appropriate. Plaintiff's counsel
      represents that the attorneys' fee awarded does not exceed its contract fee with
      the plaintiff. The court finds that there is/are no reduction or enhancement
      factors for consideration by the court pursuant to Florida Patients Compensation
      Fund v. Rowe, 472 So. 2d 1145 (Fla. 1985). (If the court has found that there are
      reduction or enhancement factors to be applied, then reduction or enhancement
      factors must be identified and explained herein.)

      DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 8th day of
      November, 2021.




                                                              2016-033272-CA-01 11-08-2021 5:43 PM
                                                                 Hon. David C. Miller

                                                                 CIRCUIT COURT JUDGE
                                                                 Electronically Signed



        Final Order as to All Parties SRS #: 12 (Other)

        THE COURT DISMISSES THIS CASE AGAINST ANY PARTY NOT LISTED IN THIS
        FINAL ORDER OR PREVIOUS ORDER(S). THIS CASE IS CLOSED AS TO ALL
        PARTIES.



      Electronically Served:



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      Roy A Diaz, Answers@DALlegal.com
      Steven H. Rothstein, stevenrothstein@miamibeachfl.gov


      Physically Served:




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MOTION FOR RELIEF
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                                                  Address       Owner Name            Subdivision Name             Folio


                              Search:             1575 W 6TH AVE                                             Suite                   Back to Search Results




                                 Property Information                                                                                  Zoom

                                 Folio: 04-3013-009-0197                                                                                     Map View           Layers

                                 Sub-Division:
                                  LUNSFORD GDNS


                                 Property Address
                                  1575 W 6 AVE


                                 Owner
                                  CARLOS GARCIA


                                 Mailing Address
                                  10000 NORTH WEST CT #2545
                                  HIALEAH, FL 33016


                                 PA Primary Zone
                                  0100 SINGLE FAMILY - GENERAL


                                 Primary Land Use
                                  0101 RESIDENTIAL - SINGLE FAMILY : 1 UNIT


                                 Beds / Baths / Half        3/2/0


                                 Floors                     1


                                 Living Units               1


                                 Actual Area                1,763 Sq.Ft


                                 Living Area                1,535 Sq.Ft


                                 Adjusted Area              1,570 Sq.Ft


                                 Lot Size                   4,500 Sq.Ft
                                                                                                                               2022 Aerial Photography
                                                                                                                                                         60ft

                                 Year Built                 Multiple (See Building
                                                            Info.)




                                 Featured Online Tools

                                   Comparable Sales                              Glossary                                  PA Additional Online Tools
                                   Property Record Cards                         Property Search Help                      Property Taxes
                                   Report Discrepancies                          Report Homestead Fraud                    Special Taxing Districts and Other Non-Ad
                                                                                                                           valorem Assessments
                                   Tax Comparison                                Tax Estimator                             TRIM Notice
                                   Value Adjustment Board




                                  Assessment Information
                                 Year                                                                      2023                       2022                         2021

                                 Land Value                                                             $148,606                  $123,838                      $104,668

                                 Building Value                                                         $147,557                  $140,239                      $102,829

                                 Extra Feature Value                                                      $4,917                    $4,981                        $5,046

                                 Market Value                                                           $301,080                  $269,058                      $212,543

                                 Assessed Value                                                         $257,176                  $233,797                      $212,543




                                  Taxable Value Information
                                                                                                           2023                       2022                         2021

                                 COUNTY

                                  Exemption Value                                                            $0                         $0                           $0




https://www.miamidade.gov/Apps/PA/propertysearch/#/                                                                                                                        1/3
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                                   Taxable Value                                                             $257,176                             $233,797                      $212,543

                                 SCHOOL BOARD

                                   Exemption Value                                                                   $0                                    $0                         $0

                                   Taxable Value                                                             $301,080                             $269,058                      $212,543

                                 CITY

                                   Exemption Value                                                                   $0                                    $0                         $0

                                   Taxable Value                                                             $257,176                             $233,797                      $212,543

                                 REGIONAL

                                   Exemption Value                                                                   $0                                    $0                         $0

                                   Taxable Value                                                             $257,176                             $233,797                      $212,543


                                   Benefits Information
                                 Benefit                                        Type                                                               2023                 2022        2021

                                 Non-Homestead Cap                              Assessment Reduction                                             $43,904            $35,261

                                 Note: Not all benefits are applicable to all Taxable Values (i.e. County, School Board, City, Regional).




                                   Full Legal Description
                                 LUNSFORD GARDENS PB 30-4

                                 LOT 53

                                 LOT SIZE 45.000 X 100

                                 OR 19549-2197 0201 1

                                 COC 22950-1955/23176-1977 1204 1

                                 COC 26116-0380 10 2007 6




                                   Sales Information
                                 Previous Sale                                   Price                OR Book-Page                                 Qualification Description

                                 10/01/2007                                   $320,000                  26116-0380                  Other disqualified

                                 12/01/2004                                   $230,000                  22950-1955                  Sales which are qualified

                                 02/01/2001                                   $137,900                  19549-2197                  Sales which are qualified

                                 09/01/1979                                    $45,000                  10525-0589                  Sales which are qualified

                                 01/01/1978                                    $37,900                  09928-0482                  Sales which are qualified

                                 For more information about the Department of Revenue's Sales Qualification Codes.



                                  2023            2022      2021


                                   Land Information
                                 Land Use            Muni Zone                           PA Zone                             Unit Type                          Units          Calc Value

                                 GENERAL                 R-1                 0100 - SINGLE FAMILY - GENERAL                      Front Ft.                      45.00           $148,606




                                   Building Information
                                    Building Number               Sub Area      Year Built          Actual Sq.Ft.           Living Sq.Ft.                  Adj Sq.Ft.          Calc Value

                                              1                      1            1965                       1,327                    1,275                     1,221           $119,414

                                              1                      2            1986                         260                      260                      173             $20,021

                                              2                      1            1986                         176                           0                   176              $8,122


                                     Current Building Sketches Available




                                   Extra Features
                                 Description                                                                         Year Built                                 Units          Calc Value

                                 Patio - Concrete Slab                                                                    2011                                   380               $1,353

                                 Wood Fence                                                                               1986                                    40                $467

                                 Aluminum Modular Fence                                                                   1986                                    45               $1,117

                                 Patio - Concrete Slab                                                                    1986                                   565               $1,605

                                 Patio - Brick, Tile, Flagstone                                                           1986                                    48                $375




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                                   Additional Information
                                 * The information listed below is not derived from the Property Appraiser's Office records. It is provided for convenience and is derived from
                                 other government agencies.

                                  LAND USE AND RESTRICTIONS


                                     Community Development District:           NONE                           Community Redevelopment Area:             NONE

                                     Empowerment Zone:                         NONE                           Enterprise Zone:                          NONE

                                     Urban Development:                        INSIDE URBAN                   Zoning Code:                              R-1 -
                                                                               DEVELOPMENT
                                                                               BOUNDARY                       Existing Land Use:                        11 - SINGLE-FAMILY,
                                                                                                                                                        HIGH DENSITY
                                                                                                                                                        (OVER 5 DU/GROSS
                                                                                                                                                        ACRE, OTHER
                                                                                                                                                        THAN
                                                                                                                                                        TOWNHOUSES,
                                                                                                                                                        DUPLEXES AND
                                                                                                                                                        MOBILE HOMES).

                                                                                                             Government Agencies and Community Services



                                  OTHER GOVERNMENTAL JURISDICTIONS


                                     Business Incentives                             Childrens Trust                                City of Hialeah

                                     Environmental Considerations                    Florida Inland Navigation District             PA Bulletin Board

                                     Special Taxing District and Other Non-          School Board                                   South Florida Water Mgmt District
                                     Ad valorem Assessment
                                                                                     Tax Collector




                                The Office of the Property Appraiser is continually editing and updating the tax roll. This website may not reflect the most current information on
                                record. The Property Appraiser and Miami-Dade County assumes no liability, see full disclaimer and User Agreement at http://www.miamidad
                                e.gov/info/disclaimer.asp

                                For inquiries and suggestions email us at http://www.miamidade.gov/PAPortal/ContactForm/ContactFormMain.aspx.
                                Version: 2.0.3




                                  Exemptions & Benefits                             Real Estate                                       Tangible Personal Property


                                   Deployed Military                                 40 Yr Building                                     Appealing your Assessment
                                                                                     Re-Certification
                                   Disability Exemptions                                                                                Assessment Information Search
                                                                                     Appealing Your Assessment
                                   Homestead                                                                                            Exemptions
                                                                                     Defective Drywall
                                   Institutional                                                                                        Extension Requests
                                                                                     Folio Numbers
                                   Senior Citizens                                                                                      Filing Returns
                                                                                     Mortgage Fraud




                                                                      More >                                              More >                                           More >




                                  Public Records                                    Online Tools                                      Tax Roll Administration


                                   Address Blocking                                  Property Search                                    Appealing your Assessment

                                   Change of Name                                    Property Sales                                     Reports

                                   Change of Address                                 Tax Estimator

                                   Change of Ownership & Title                       Tax Comparison

                                   Declaration of Condominium                        Homestead Exemption and Portability




                                                                      More >                                              More >                                           More >




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